Case 8:04-cr-00348-CEH-TGW Document 199 Filed 05/27/05 Page 1 of 4 PageID 798




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES OF AMERICA

-vs-                                                             Case No. 8:04-cr-348-T-24 TGW

PASQUALE ANDRIANO

_______________________________/

                                             ORDER
       This cause comes before the Court on Defendant Pasquale Andriano’s Motion to
Dismiss. (Doc. No. 180). The Government opposes the motion. (Doc. No. 197).
       Defendant Andriano is charged by the Indictment as participating in a RICO conspiracy.
Defendant Andriano makes several arguments in support of his contention that the Indictment
should be dismissed. Accordingly, the Court will address each argument.
I. Identification of the Enterprise
       Defendant Andriano argues that the RICO conspiracy charge in the Indictment should be
dismissed because it fails to identify the enterprise. “[T]he definitive factor in determining the
existence of a RICO enterprise is the existence of an association of individual entities, however
loose or informal, that furnishes a vehicle for the commission of two or more predicate crimes,
that is, the pattern of racketeering activity requisite to the RICO violation.” U.S. v. Goldin
Indus., Inc., 219 F.3d 1271, 1275 (11th Cir. 2000)(citing U.S. v. Elliott, 571 F.2d 880, 898 (5th
Cir. 1978)). The Government responds that the enterprise is the “crew,” which is made up of the
defendants.
       Defendant Andriano argues that since the “crew” merely refers to the defendants, the
Indictment does not allege a proper enterprise, because the “person” and the “enterprise” must be
distinct. The Court rejects this argument. A defendant can be a person and also be part of the
enterprise. See id. “The prohibition against the unity of person and enterprise applies only when
Case 8:04-cr-00348-CEH-TGW Document 199 Filed 05/27/05 Page 2 of 4 PageID 799




the singular person or entity is defined as both the person and the only entity comprising the
enterprise.” Id. (citations omitted).
II. Relationship Between the Racketeering Activity and the Enterprise
       Next, Defendant Andriano argues that the RICO conspiracy charge in the Indictment
should be dismissed, because (1) the Indictment fails to allege a relationship between the
racketeering activity and the enterprise; and (2) the Indictment fails to distinguish between the
racketeering activity and the enterprise. The Court rejects these arguments.
       Upon review of the Indictment, the Court find that the Indictment sufficiently alleges a
relationship between the racketeering activity and the enterprise. Furthermore, the Court finds
that the Indictment alleges an enterprise that is distinguished from the racketeering activity.
Specifically, the Indictment describes the enterprise as consisting of the crew, and it sufficiently
distinguishes the enterprise from the racketeering activity. Additionally, this Court notes that the
Eleventh Circuit has rejected the contention that a RICO enterprise must possess an ascertainable
structure distinct from the associations necessary to conduct the pattern of racketeering activity.
See U.S. v. Weinstein, 762 F.2d 1522, 1537 n.13 (11th Cir. 1985).
III. Relationship Between the Predicate Acts
       Next, Defendant Andriano argues that the RICO conspiracy charge in the Indictment
should be dismissed, because there is no showing that the predicate acts are related or have
continuity. Defendant Andriano argues that since the Indictment lacks specificity regarding
when, where, how, by whom, and to whom the predicate acts were committed, relatedness and
continuity cannot be shown. The Court rejects this argument.
       Predicate acts must form a pattern, and “in order to prove this pattern, the government
must prove that the predicate acts are related to each other and have continuity.” U.S. v. Starrett,
55 F.3d 1525, 1543 (11th Cir. 1995)(citations omitted). “Predicate acts are related to each other
if they ‘have the same or similar purposes, results, participants, victims, or methods of
commission, or otherwise are interrelated by distinguishing characteristics and are not isolated


                                                 2
Case 8:04-cr-00348-CEH-TGW Document 199 Filed 05/27/05 Page 3 of 4 PageID 800




events.’” Id. (quoting Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 496 n.14 (1985)).
“Predicate acts demonstrate continuity if they are either ‘a closed period of repeated conduct,’ or
‘past conduct that by its nature projects into the future with a threat of repetition.’” Id. (quoting
H.J. Inc. v. Northwestern Bell Telephone Co., 492 U.S. 229, 241 (1989)).
       Continuity and relationship of racketeering acts are not essential elements of a RICO
conspiracy. U.S. v. Cuong Gia Le, 310 F. Supp.2d 763, 775(E.D. Va. 2004)(citations omitted).
While the Government must prove both continuity and relationship to prove a pattern of
racketeering activity at trial, neither continuity nor relationship need to be alleged in the
indictment. See id. (citations omitted); see also U.S. v. Mavroules, 819 F. Supp. 1109, 1118-
1119 (D. Mass. 1993). As such, the Court rejects Defendant Andriano’s argument on this issue.
IV. Specificity of the RICO Conspiracy Allegations
       Next, Defendant Andriano argues that the RICO conspiracy charge in the Indictment
should be dismissed, because the Indictment lacks specificity with regards to: (1) the time period
of the conspiracy, (2) when each defendant joined the conspiracy, (3) when and where the
predicate acts or agreements occurred, (4) who committed each predicate act, (5) the
identification of the victims, (6) the identification of the modus operandi for each offense, and
(7) the identification of all of the co-conspirators. The Court rejects this argument.
       Indictments are only required to provide a minimum level of detail; they are only
required to provide such detail as is necessary to “adequately apprise the defendant of the
charges, thereby enabling him to prepare his defense.” U.S. v. Smith, 230 F.3d 300, 306 (7th Cir.
2000)(citations omitted). As such, the Court rejects Defendant Andriano’s argument that the
Indictment lacks the requisite specificity. See, e.g., U.S. v. Steele, 178 F.3d 1230, 1234 and n.1
(11th Cir. 1999)(stating that when charging a defendant in participating in a conspiracy, the
government may refer to a certain duration of time and noting that alleging that an offense
occurred within a judicial district was sufficient to describe the location of the offense); U.S. v.
Yonn, 702 F.2d 1341, 1348 (11th Cir. 1983)(stating that alleging that an offense occurred “in the


                                                  3
Case 8:04-cr-00348-CEH-TGW Document 199 Filed 05/27/05 Page 4 of 4 PageID 801




Northern District of Florida and elsewhere” was sufficient to describe the location of the
offense); U.S. v. Glecier, 923 F.2d 496, 500 (7th Cir. 1991)(stating that specific predicate acts
that the defendant agreed personally to commit do not need to be alleged in a RICO conspiracy
charge). The Court notes that Defendant Andriano has filed a motion for a bill of particulars and
that the Magistrate Judge has granted it to the extent that the Government must provide
Defendant Andriano with information regarding the criminal acts that the Government intends to
prove at trial, along with the location and date of each act.
       Accordingly, it is ORDERED AND ADJUDGED that Defendant Pasquale Andriano’s
Motion to Dismiss (Doc. No. 180)is DENIED.

       DONE AND ORDERED at Tampa, Florida, this 27th day of May, 2005.




Copies to: Counsel of Record




                                                  4
